       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 1 of 14




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



PLANNED PARENTHOOD OF                            )
 KANSAS AND MID-MISSOURI,                        )
                                                 )
       Plaintiff,                                )
                                                 )
       vs.                                       )      Case No.: 11-cv-2357 JTM/DJW
                                                 )
SAM BROWNBACK, Governor of                       )
 Kansas, and                                     )
ROBERT MOSER, MD, Secretary,                     )
 Kansas Department of Health                     )
 and Environment,                                )
                                                 )
       Defendants.                               )


                                         COMPLAINT
                                 NATURE OF THE ACTION

1.     This civil action is filed pursuant to 42 U.S.C. § 1983, to vindicate rights secured by the

Supremacy Clause and the First and Fourteenth Amendments to the United States Constitution.

For more than twenty-five years, Plaintiff Planned Parenthood of Kansas and Mid-Missouri

(―Planned Parenthood‖ or ―PPKM‖) has been an integral part of providing family planning

services to the men and women of Ellis and Sedgwick Counties through the federal family

planning program, known as ―Title X.‖

2.     On May 28, 2011, Kansas Governor Sam Brownback signed into law a state

appropriations bill that includes an impermissible provision intended to prevent PPKM from

receiving Title X funds due to Planned Parenthood‘s provision of, association with, and/or

advocacy for access to abortion services. H.B. 2014, 84th Leg. (Kan. 2011) (enacted). Section




                                                 1
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 2 of 14




107(l) of the bill sets forth a pretextual funding restriction for the distribution of Title X monies,

the sole purpose of which is to ensure that PPKM is excluded.

3.     Plaintiff seeks declaratory and injunctive relief because Section 107(l) violates the

Supremacy Clause and the First and Fourteenth Amendments of the United States Constitution.

It violates the Supremacy Clause because it imposes restrictions on eligibility for Title X funds

that are in excess of and inconsistent with restrictions and requirements established by the federal

government for these funds. Section 107(l) violates the First and Fourteenth Amendments in that

it constitutes an impermissible penalty on Planned Parenthood‘s provision of, association with,

and/or advocacy for access to abortion services, and thus also an unconstitutional burden on the

rights of Plaintiff‘s patients to choose abortion.

4.     Section 107(l) is set to take effect on July 1, 2011, the start of the 2012 fiscal year. If it is

allowed to stand, it will cause significant and irreparable harm to Plaintiff and Plaintiff‘s

patients, including men and women seeking family planning services in Kansas.

                                 JURISDICTION AND VENUE

5.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331.

6.     Plaintiff‘s claim for declaratory and injunctive relief is authorized by 28 U.S.C. §§ 2201

and 2202 and by Rules 57 and 65 of the Federal Rules of Civil Procedure, and by the general

legal and equitable powers of this Court.

7.     Venue is proper under 28 U.S.C. § 1391(b) because the Defendants reside in this District.

                                          THE PARTIES

8.     Plaintiff Planned Parenthood of Kansas and Mid-Missouri (―PPKM‖) is a not-for-profit

Missouri corporation, headquartered in Overland Park, Kansas. It has provided access to

reproductive health care to women and families since 1935. PPKM provides confidential health

services to all individuals regardless of their ability to pay. It currently has 10 health centers,

                                                     2
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 3 of 14




including centers in the Kansas City metro area, Hays and Wichita, Kansas, and centers in

Warrensburg, Columbia, and Jefferson City, Missouri. PPKM has been a Title X service

provider in Kansas for over twenty-five years. Prior to July 1, 2011, its health centers in Wichita

(Sedgwick County) and Hays (Ellis County), Kansas, each has received federal Title X funds

subgranted to it by the Kansas Department of Health and Environment (―KDHE‖), the Title X

grantee for the state of Kansas. Federal Title X funds are used to provide certain reproductive

health services, including but not limited to pap smears and other cancer screenings,

contraception counseling, pregnancy testing and related services, and screenings for HIV/AIDS

and other sexually transmitted infections. While PPKM performs abortions at two of its health

centers in Missouri, abortions are not performed at any of its health centers in Kansas. However,

PPKM‘s affiliate organization, Comprehensive Health of Planned Parenthood of Kansas and

Mid-Missouri (―Comprehensive Health‖), does provide abortion services at its Overland Park,

Kansas location. Comprehensive Health does not receive any Title X funds, and all of its

abortion services are financed entirely by private funds.

9.      Defendant Sam Brownback is the Governor of Kansas. He is a government official

responsible for the acts complained of in this litigation. See Kan. Const. art. 1, § 3. He is sued in

his official capacity.

10.     Defendant Robert Moser, MD, is the Secretary of the Kansas Department of Health and

Environment. He is a government official responsible for the acts complained of in this

litigation. He is sued in his official capacity.

                          TITLE X FAMILY PLANNING PROGRAM

11.     The Title X Family Planning Program (―Title X‖) is the federal program to subsidize the

provision of family planning services to low-income persons. 42 U.S.C. § 300, et seq. It was

enacted in 1970 as part of the Public Health Service Act. It was designed to ensure that low-
                                                   3
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 4 of 14




income and/or uninsured families and individuals, including those not eligible for Medicaid

coverage, would have access to family planning services. Title X funds are granted by the

United States Department of Health and Human Services (―HHS‖) to state agencies or private

entities (―grantees‖). Those grantees may provide services themselves or, as is the case in

Kansas, enter into agreements with other entities (―subgrantees‖) to provide Title X services.

12.    Title X does not prohibit entities that provide abortion services from receiving Title X

grants. In fact, it contemplates that entities that provide abortions will receive Title X funds for

family planning projects, and it requires that the subsidized project not include ―abortion [as] a

method of family planning.‖ 42 U.S.C. § 300a-6. Indeed, the Title X regulations state that ―any

entity‖ is eligible to apply for the funds, and make no mention of the ineligibility of entities that

provide abortions to receive Title X funds or operate Title X projects. See 42 C.F.R. § 59.1, et

seq. Nor do the Title X regulations impose any additional service requirements on entities

applying for Title X funds, including that they be hospitals, federally qualified health centers

(―FQHC‘s‖), or provide any services outside of those offered as part of the Title X program.

Title X‘s rules and requirements apply not only to the Title X funds, but to all of the funds

allocated to the project subsidized by the Title X funds.

13.    When passed in 1970, the clear intent of Title X was to fund low-cost family planning

services provided by organizations like Planned Parenthood. During the many years in which

PPKM has received Title X funds, there have never been any allegations that PPKM failed to

provide the services required under its agreements with KDHE. Nor has PPKM ever misused

Title X funds by allocating such funds for abortion services.




                                                  4
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 5 of 14




  KDHE’S FAMILY PLANNING PROGRAM AND ITS CURRENT TITLE X GRANT

14.    KDHE is the Title X grantee for the state of Kansas, and its Family Planning Services

Program is funded, at least in part, by Title X grant monies received from the federal

government.

15.    On February 22, 2010, KDHE submitted to HHS its competing continuation grant

application for Title X funds for the Kansas Family Planning Services Program. The grant

application requested funds for the first year of a five-year project period, beginning June 30,

2010 and ending June 29, 2015. In its application, as it had in prior years, KDHE explained how

it intended to perform its proposed project and distribute its grant monies, and the number of

patients who would be covered by the grant monies. Its application included PPKM‘s Wichita

and Hays health centers as two of its 58 subgrantees. KDHE represented to HHS that PPKM

was its largest subgrantee, shown in its grant application as receiving 13% of KDHE‘s total

statewide Title X grant and serving more patients than any other subgrantee. In addition to

health services, KDHE represented to HHS that PPKM ―has been implementing the FP [Family

Planning] Program Male Involvement Information and Education Project focusing on African-

American and Hispanic young men ages 12-19 and addressing the Title X program priority to

more fully involve males in reproductive health, as well as the Healthy People 2010 FP goal to:

‗improve pregnancy planning and spacing and prevent unintended pregnancy.‘‖

16.    On information and belief, KDHE‘s 2010 grant application was accepted by the federal

government for the time period June 30, 2010 to June 29, 2015.

17.    KDHE enters into contracts with PPKM and other family planning providers on an

annual basis for contract periods that run from July 1 through June 30 to provide the clinical

health services described in KDHE‘s Title X grant. For the 2011 fiscal year, KDHE granted



                                                 5
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 6 of 14




Plaintiff $284,433.00 to serve 4,270 individuals in Sedgwick County at its Wichita health center.

KDHE also granted Plaintiff $46,869.00 to serve 897 individuals in Ellis County at its Hays

health center. Plaintiff‘s current contracts with KDHE will expire on June 30, 2011.

                      THE KANSAS STATE BUDGET PROCESS
                  AND ITS DEFUNDING OF PLANNED PARENTHOOD

18.    The Kansas annual budget, which runs from July 1, 2011 to June 30, 2012, in addition to

state monies, includes KDHE‘s federal Title X grant monies.

19.    For the fiscal year beginning July 1, 2011, all of the federal Title X funds will be

appropriated in Section 107(l) of the appropriations bill, H.B. 2014, which states:

               (l) During the fiscal year ending June 30, 2012, subject to any
               applicable requirements of federal statutes, rules, regulations or
               guidelines, any expenditures or grants of money by the department
               of health and environment—division of health for family planning
               services financed in whole or in part from federal title X moneys
               shall be made subject to the following two priorities: First priority
               to public entities (state, county, local health departments and health
               clinics) and, if any moneys remain, then, Second priority to non-
               public entities which are hospitals or federally qualified health
               centers that provide comprehensive primary and preventative care
               in addition to family planning services: Provided, That, as used in
               this subsection ‗‗hospitals‘‘ shall have the same meaning as
               defined in K.S.A. 65-425, and amendments thereto, and ‗‗federally
               qualified health center‘‘ shall have the same meaning as defined in
               K.S.A. 65-1669, and amendments thereto.

20.    Under K.S.A. 65-1669(e), a FQHC is a primary health center that both meets the

requirements for federal funding under 42 U.S.C. § 1396d(l) of the Public Health Service Act

(―Section 1396d(l)‖), and which has been designated as a FQHC by the federal government.

Section 1396d(l) is part of Title XIX, the Medicaid program. Under 42 U.S.C. § 1396d(l), to

qualify as an FQHC, an entity must receive a grant (or contract with a grantee) and meet the

requirements to receive a grant under Section 254b of the Public Health Service Act, which

provides Medicaid funds for primary health services to underserved populations. 42 U.S.C.


                                                 6
        Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 7 of 14




§ 1396d(l). Section 254b grant recipients are ―health centers‖ that must provide a range of

―required primary health services,‖ including general preventative dental care, vision screenings,

and ―pediatric eye, ear, and dental screenings to determine the need for vision and hearing

correction and dental care,‖ among others. 42 U.S.C. §§ 254b(b)(1)(A)(i)-(v). In addition, the

U.S. Secretary of Health and Human Services must determine that the entity meets the federal

requirements for a section 254b grant, or has been treated by the Secretary as a fully federally

funded health center as of January 1, 1990, to officially be an FQHC. Id. §§ 1396d(l)(2)(B)(iii)-

(iv).

21.     PPKM is not a hospital or a FQHC under 42 U.S.C. § 1396d(l). Although it provides a

broad range of health services, PPKM specializes in the provision of family planning and

reproductive health services; it does not provide all of the primary health services required to be

a FQHC.

22.     Under the newly-enacted Section 107(l), ―non-public entities which are hospitals or

federally qualified health centers that provide comprehensive primary and preventative care in

addition to family planning services‖ are eligible for federal Title X funds. Section 107(l)

thereby prohibits KDHE from distributing federal Title X Family Planning Program funds to any

organization specializing in women‘s health or family planning, including Planned Parenthood,

that does not also provide comprehensive primary and preventative care. In addition, by

requiring PPKM to have been designated a FQHC by the federal government, KDHE is

imposing an unrelated federal administrative requirement on the receipt of Title X monies.

These Section 107(l) requirements are inconsistent with the intent of Title X and impose

restrictions on eligibility for these funds that are in excess of and inconsistent with the

restrictions and requirements established by the federal government for Title X funds.



                                                  7
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 8 of 14




23.    It is also inconsistent with the intent of Title X and improper to exclude abortion

providers or those associated or affiliated with them from participating in the program. The

history of Section 107(l) demonstrates that this ―priority‖ funding provision had precisely this

improper motivation – i.e., to remove Planned Parenthood from the Title X program and penalize

it because it provides or is associated or affiliated with abortion services.

24.    The Kansas Appropriations Bill for fiscal year 2012 was introduced in the Kansas House

of Representatives on Friday January 14, 2011 and titled H.B. 2014. It did not contain any

restrictions on who may receive Title X funds.

25.    On February 8, 2011, Representative Lance Kinzer offered an amendment to Section 57

of the bill imposing the same restrictions on Title X funding for fiscal year 2011 that are now

found at Section 107(l) for fiscal year 2012. Rep. Kinzer‘s amendment was adopted by the

Kansas House on that same day. After the vote on his amendment, Rep. Kinzer issued a press

release, posted on his personal website, www.lancekinzer.com. This press release summarized

the events of the day, February 8, and stated that an ―amendment, offered by Representative

Kinzer and approved by ninety-one members, took all state funding away from Planned

Parenthood to ensure that state dollars are not used for abortion services.‖

26.    Also on February 8, 2011, substantially the same release was circulated by Speaker of the

Kansas House, Representative Mike O‘Neal‘s Communications Director, Christie Kriegshauser.

Rep. Kinzer also posted the following online: ―Delighted to announce that the KS House just

approved my floor amendment to deny Title X funding to Planned Parenthood for the balance of

FY2011. The vote was 91-26, a great victory on the first pro-life floor vote of the session.‖

27.    On April 25, 2011, LifeSiteNews.com, which claims that it is a non-profit internet news

service, published a story titled, ―Kansas Governor Brownback: Zap Planned Parenthood



                                                  8
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 9 of 14




Funding.‖ The article summarized the effects of Rep. Kinzer‘s amendment on Planned

Parenthood funding and quotes Governor Sam Brownback‘s spokeswoman, Sherriene Jones-

Sontag as stating, ―Gov. Brownback . . . opposes taxpayer subsidy of abortions.‖

28.    When the Appropriations Bill came out of the Conference Committee on May 12, 2011,

the Committee Report included substantially similar language to that of Rep. Kinzer‘s February

8 amendment in Section 107(l). The Kansas State Senate and Kansas State House voted to adopt

the Conference Committee Report on May 12, and May 13, respectively. Also on May 13, the

Lawrence Journal-World, LJWorld.com, published an article on its website titled, ―Planned

Parenthood criticizes Kansas budget provision.‖ The article describes Governor Brownback as

having ―hailed‖ Rep. Kinzer‘s amendment, and quotes Governor Brownback as stating that by

passing this measure, Kansas would ―zero out funding of Planned Parenthood.‖ Kansas for Life

also issued a May 13 Press Release stating that ―Planned Parenthood will no longer‖ receive

Title X funds.

29.    The final bill was presented to Governor Brownback on Friday May 20, 2011. The

Governor signed the bill into law on May 28, 2011.

30.    On or about June 14, 2011, Defendants sent letters to PPKM informing it that its Wichita

and Hays health centers would not receive Title X funds for the 2012 fiscal year and that

Plaintiff‘s Universal Contract with KDHE was thereby cancelled. The letters, on letterhead

reflecting the names of Defendants Governor Brownback and Secretary Moser and signed by

Defendant Secretary Moser, stated that KDHE was ―unable‖ to provide ―Title X family planning

funding . . . during state fiscal year 2012‖ because ―[d]ue to recent legislative action funding is

no longer available for your organization.‖




                                                  9
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 10 of 14




          THE IMPACT OF SECTION 107(l) ON PLAINTIFF AND ITS PATIENTS

31.    It is clear from the statements of Governor Brownback and legislators like Rep. Kinzer

that the specific intent of Section 107(l) was to prohibit the distribution of Title X funds to

Planned Parenthood because of their belief that Planned Parenthood performs, is associated with,

and/or advocates for access to abortion. Section 107(l) effectively strips more than $330,000.00

in historical annual funding from PPKM.

32.    PPKM‘s patients, as well as other women and men in Kansas, will be injured by the loss

of these funds. PPKM will have to make substantial cuts in family planning services, charge

significantly more for its services, and possibly close one or more of its health centers. The

monies that will be lost fund critical medical services for men and women, including family

planning and contraception, pregnancy testing, HIV/AIDS testing, treatment of sexually

transmitted infections, detection of cervical, breast and testicular cancers, and vaccinations for

hepatitis and cervical cancer. They have never been used to perform abortions.

33.    The low-cost family planning and reproductive health services that PPKM provides are

particularly important because so many of PPKM‘s patients have limited financial means.

34.    The PPKM Center in Wichita provides services to approximately 4,720 different women,

men and teens each year who come from southeast and south central Kansas. The PPKM health

center in Hays provides services to approximately 960 different women, men and teens each year

who come from a large area of western Kansas. PPKM provides more than 9,000 birth control

visits, 3,000 pap tests, 3,000 breast exams, and 18,000 STD tests each year to these roughly

5,700 individuals. This does not include other individuals to whom PPKM provides education

services through the Title X program.

35.    PPKM is not aware of any other organizations with the capacity, facilities, or staffing to

adequately serve its patients at the Wichita and Hays health centers who will now need to find a
                                                 10
      Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 11 of 14




new health service provider. In order to take advantage of Title X‘s sliding fee scale, Plaintiff‘s

patients will be forced to end their established relationships with PPKM and seek services

elsewhere. In some cases, patients will be forced to travel further to seek treatment or

medications, wait longer for appointments, delay testing and other procedures, or otherwise

receive care that is not of the same quality that PPKM provides.

36.    In fact, PPKM believes that, as of July 1, 2011, there will be no family planning

providers in Ellis County receiving Title X funds, and individuals who rely on PPKM‘s services

there may be forced to travel long distances for health care. In addition, a substantial number of

patients may face a total loss of services, or be forced to pay substantially greater fees for family

planning services.

37.    The loss of Title X funds will also cause PPKM to lose its eligibility to participate in the

340B drug pricing program. PPKM is eligible for this program owing to its status as a Title X

service provider. This program enables PPKM to purchase outpatient drugs at a lower cost than

it otherwise could. Without the 340B drug pricing program, PPKM will lose additional

monetary benefits that go directly toward helping it provide family planning services to low-

income women and men in Kansas.

38.    PPKM expects that, without Title X funds and 340B pricing, it will only be able to

continue its current sliding fee scale for one or two months. Ultimately, without the Title X

funding that PPKM historically has received and without 340B drug pricing, PPKM will have no

choice but to charge patients significantly more for family planning services and may have to

reduce the services it provides. PPKM may even be forced to close one or more of its health

centers.

39.    Plaintiff has no adequate remedy at law.



                                                 11
       Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 12 of 14




                                       CLAIMS FOR RELIEF

                                COUNT I - SUPREMACY CLAUSE

40.     Plaintiff hereby reaffirms and realleges each and every allegation made in ¶¶1-39 above

as if set forth fully herein.

41.     Section 107(l) violates the Supremacy Clause of the United States Constitution by

placing impermissible eligibility conditions on federal funds that are in excess of and

inconsistent with those established by the federal government.

                     COUNT II - UNCONSTITUTIONAL PENALTY ON
               CONSTITUTIONALLY PROTECTED ACTIVITY – First Amendment

42.     Plaintiff hereby reaffirms and realleges each and every allegation made in ¶¶1-41 above

as if set forth fully herein.

43.     Section 107(l) violates the rights of Plaintiff as guaranteed by the First Amendment to the

United States Constitution by imposing a penalty on its association with providers of abortion

services and/or its advocacy for access to abortion services.

                   COUNT III - UNCONSTITUTIONAL PENALTY ON
           CONSTITUTIONALLY PROTECTED ACTIVITY – Fourteenth Amendment

44.     Plaintiff hereby reaffirms and realleges each and every allegation made in ¶¶1-43 above

as if set forth fully herein.

45.     Section 107(l) violates the rights of Plaintiff and Plaintiff‘s patients as guaranteed by the

Fourteenth Amendment to the United States Constitution by imposing a penalty on the provision

of, or association or affiliation with, abortion services, and thereby imposing an unconstitutional

burden on the rights of women to choose abortion.

WHEREFORE, Plaintiff requests that this Court:




                                                  12
      Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 13 of 14




      1. Issue a declaratory judgment that Section 107(l) of Senate Substitute for House Bill

          2014 violates the Supremacy Clause of the United States Constitution and is therefore

          void and of no effect;

      2. Issue a declaratory judgment that Section 107(l) of Senate Substitute for House Bill

          2014 violates the rights of Plaintiff protected by the First Amendment to the United

          States Constitution;

      3. Issue a declaratory judgment that Section 107(l) of Senate Substitute for House Bill

          2014 violates the rights of Plaintiff and Plaintiff‘s patients protected by the

          Fourteenth Amendment to the United States Constitution;

      4. Issue preliminary and permanent injunctive relief, without bond, restraining the

          enforcement, operation, and execution of Section 107(l) of Senate Substitute for

          House Bill 2014 by enjoining Defendants, their agents, employees, appointees, or

          successors from enforcing, threatening to enforce, or otherwise applying the

          provisions of Section 107(l) and directing Defendants to honor their contracts with

          Plaintiff;

      5. Grant Plaintiff attorneys‘ fees, costs and expenses pursuant to 42 U.S.C. § 1988; and

      6. Grant such further relief as this Court deems just and proper.


Dated: June 27, 2011

                                                     Respectfully submitted,


                                                     s/ Lee Thompson
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                                                     Erin C. Thompson, #22117
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                                                13
Case 2:11-cv-02357-JTM-TJJ Document 1 Filed 06/27/11 Page 14 of 14




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                                              ATTORNEYS FOR PLAINTIFF
                                                      *
                                                       Application for admission pro hac vice
                                                      forthcoming




                    DESIGNATION OF PLACE OF TRIAL

Plaintiff designates Kansas City, Kansas as the place of trial.




                                         14
